                                                                         CLERK'S OFFICE U.S, DIST. COURT
                         IN THE UNITED STATES DISTRICT COURT                       AT RO~~~~E, VA.· ·
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION                                 MAR 2' 1 2019
WILLIE HENDERSON, individually and                )                        1'8~;
behalf of all others similarly situated,          )                                ~p~~~~
                                                  )   Civil Action No. 7:17CV00292
        Plaintiff,                                )
                                                  )   MEMORANDUM OPINION
v.                                                )
                                                  )   By: Hon. Glen E. Conrad
GENERAL REVENUE CORPORATION,                      )   Senior United States District Judge
et al.,                                           )
                                                  )
        Defendants.                               )


        This case is presently before' the court on the plaintiffs motion for leave to file a second

 amended complaint. For the reasons set forth below, the court will grant the plaintiffs motion.

                                           Background

        On June 22, 2017, plaintiff Willie Henderson filed the instant action against General
                                                        )
 Revenue Corporation ("GRC"), alleging that GRC violated the Fair Debt Collection Practices

 Act ("FDCPA"), 15 U.S.C. §§ 1692-1692p, in its efforts to collect federal student loan debts

 from Henderson and others similarly situated. Henderson's original complaint was based on a

 letter dated February 7, 2017, in which GRC advised Henderson that he had defaulted on his

 student loan debt and owed over $100,000 in principal, interest, and collection costs.

        On December 21, 2017, the court granted Henderson's motion for leave to file an

 amended complaint. The amended complaint included additional facts regarding GRC's alleged

 violations of the FDCPA.      It also added claims against a new defendant, Pioneer Credit

 Recovery, Inc. ("Pioneer"), stemming from Pioneer's communications with Henderson. Both

 GRC and Pioneer are subsidiaries ofNavient Corporation (''Navient").




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         On August 14, 2018, Henderson filed a motion for class certification. Henderson then

moved to stay the deadlines for briefing the certification motion pending discovery. That motion

was granted and the parties were given until January 21, 2019 to complete discovery.

         At the time Henderson moved for class certification, he knew that GRC and Pioneer were

performing the debt collection activities at issue pursuant to agreements with Navient Portfolio

Management, LLC ("NPM"), another subsidiary of N avient. In January of 2019, the defendants

produced a copy of the "Master Servicing Agreement" between NPM and several loan

guarantors, including United Student Aid Funds, Inc. ("USAF"), the guarantor of Henderson's

alleged debt. Under the terms of the Master Servicing Agreement, NPM is obligated to "perform

all customary and usual portfolio management and collection services and duties associated with

the collection of defaulted educational loans." Master Servicing Agreement § A(1 ), Dkt. No.

93-1. The agreement further provides that NPM "shall use commercially reasonable efforts ...

to obtain payment in full of the principal balance, accrued interest, and collection charges on a

Loan."     Id. § A(5).   The agreement permits NPM to utilize the services of "Subordinate

Servicers," with the understanding that NPM "shall have sole responsibility for contracting with,

compensation, oversight, and audit of' such servicers. Id. § A(4).

         On February 4, 2019, Henderson filed the instant motion for leave to file a second

amended complaint. The proposed amended pleading adds NPM as a defendant and asserts

claims of vicarious liability against NPM. That same day, in accordance with a briefing order

entered on October 22, 2018, Henderson filed a memorandum in support of his motion for class

certification.

         In light of the tandem filings by the plaintiff, the existing defendants requested a status

conference, which was held on February 11, 2019. Following the status conference, the court



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entered an order establishing a briefing schedule for the plaintifrs second motion to amend. The

court advised the parties that it would set new deadlines for additional briefing on the issue of

class certification following the disposition of that motion. The court tentatively rescheduled the

hearing on the issue of class certification for April 26, 2019.

                                             Discussion

       After the period for amending a complaint as a matter of right has expired, "a party may

amend its pleading only with the opposing party's written consent or the court's leave." Fed. R.

Civ. P. 15(a)(2). Rule 15 provides that leave should be freely given when justice so requires. Id.

"The Supreme Court has declared that 'this mandate is to be heeded.'" Edwards v. City of

Goldsboro, 178 F.3d 231, 242 (4th Cir. 1999) (quoting Foman v. Davis, 371 U.S. 178, 182

(1962)). "The law is well settled 'that leave to amend a pleading should be denied only when the

amendment would be prejudicial to the opposing party, there has been bad faith on the part of the

moving party, or the amendment would be futile.'" Id. (emphasis in original) (quoting Johnson

v. OroweatFoods Co., 785 F.2d 503,509 (4thCir. 1986)).

       In opposing the pending motion, GRC and Pioneer argue that the motion is untimely and

that the proposed amendments would be futile. For the following reasons, the court finds both

arguments unpersuasive.

       Turning first to the timing of the motion, Henderson does not dispute that he was aware

of NPM' s contractual relationship with GRC and Pioneer as early as March of 2018, when he

received copies of the defendants' respective agreements with NPM.           However, Henderson

emphasizes that the full extent ofNPM's role in the debt collection efforts undertaken by GRC

and Pioneer did not become clear until the defendants produced the Master Services Agreement

in January of2019. Less than one month later, Henderson filed the instant motion seeking leave



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to add NPM as a defendant.      Under these circumstances, the court does not believe that the

timing of the motion weighs against amendment.

       Moreover, even assuming that the motion could have been filed earlier, the United States

Court of Appeals for the Fourth Circuit has made clear     that~"[ d]elay   alone is an insufficient

reason to deny leave to amend."      Edwards, 178 F.3d at 242.      "Rather, the delay must be

accompanied by prejudice, bad faith, or futility." Id. In their brief in opposition to the pending

motion, GRC and Pioneer suggest that granting leave to amend would prejudice NPM's ability to

"defend against certification of class-action claims." Defs.' Br. Opp'n 5, Dkt. No. 98. However,

the court made clear at the previous status conference that it would allow NPM sufficient time to

respond to the motion for class certification if the court granted leave to file a second amended

complaint. The court tentatively rescheduled the hearing on the certification motion for April 26,

2019, with the understanding that the hearing would be postponed if necessary to allow NPM

enough time to defend its position on the issue of class certification and conduct any additional

class-related discovery.   Accordingly, the court is unable to conclude that the proposed

amendments would unduly prejudice NPM.

       The court is also unable to conclude that the proposed amendments would be futile. See

Save Our Sound OBX, Inc. v. N.C. Dep't of Transp., 914 F.3d 213, 228 (4th Cir. 2019) ("A

proposed amendment is . . . futile if the claim it presents would not survive a motion to

dismiss."). In the second amended complaint, Henderson seeks to hold NPM vicariously liable

for the alleged violations of the FDCPA by GRC and Pioneer. Although the defendants correctly

point out that neither the Fourth Circuit nor the Supreme Court has weighed in on this issue,

other circuits and district courts in this circuit have recognized- vicarious liability under the

FDCPA. See Fontell v. Hassett, 870 F. Supp. 2d 395, 412 (D. Md. 2012) (finding "the reasoning



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of the Third and Sixth Circuits to be highly persuasive" and concluding that "[a] debt collector

should not be able to hire an attorney [or other debt collector] to engage in debt collection

practices on its behalf as a means of avoiding liability under the FDCPA"). "As it stands today,

more courts than not 'support the notion that an entity which itself meets the definition of 'debt

collector' may be held vicariously liable for unlawful collection activities carried out by another

on its behalf."' McWilliams v. Advanced Recovery Sys., Inc., 174 F. Supp. 3d 936, 942 (S.D.

Miss. 2016) (quoting Pollice v. Nat'l Tax Funding, LP, 225 F.3d 379, 404 (3d Cir. 2000)). The

defvndants do not cite to any cases to the contrary, and the court sees no reason to deviate from

what has been described as the '.'general rule under the FDCPA." Fed. Trade Comm'n v.

Swatsworth, No. 3:17-cv-340, 2018 U.S. Dist. LEXIS 142696, at *20 (W.D.N.C. Aug. 22, 2018)

(Citing Pollice, supra).

        Turning lo the allegations against NPM, Henderson specifically alleges that NPM "is a

'debt collector' under 15 U.S.C. § 1692a(6), because it uses instrumentalities .of interstate

commerce or the mails in a business, the principal purpose of which is the collection of debts,

and/or· regularly collects or attempts to collect, directly or indirectly, debts owed or due or

asserted to be owed or due to another from consumers located across the Commonwealth of

Virginia." 2d Am. Compl.     ~   7, Dkt. No. 93-1. Henderson further alleges that USAF places

defaulted student loans with NPM for collection services pursuant to the Master Servicing

Agreement, which is attached to the second amended complaint. Id.       ~   13. Under the terms of

that agreement, NPM is obligated to "perform all customary and usual ... collection services and

duties associated with the collection of defaulted educational loans."           Master Servicing

Agreement § A(4). Although the agreement permits NPM to "utilize the services of subordinate




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    servicers for the purposes of effectuating collection of defaulted student loans," NPM retains
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    "sole responsibility" for the "oversight " of such subordinate servicers. Id.

           Based on the foregoing allegations, the court concludes that the second amended

    complaint provides a sufficient basis from which the court can plausibly infer that NPM is a

    "debt collector" for purposes of the FDCPA. The mere fact that "GRC and Pioneer admittedly

    sent the collection notices at issue" is not dispositive. Defs.' Br. Opp'n 7. As indicated above,

    "[t]he Act's definition of the term 'debt collector' includes a person 'who regularly collects or

    attempts to collect, directly or indirectly, debts owed [to] ... another." Heintz v. Jenkins, 514

    U.S. 291, 293 (1995) (emphasis added) (quoting 15 U.S.C. § 1962a(6)). The facts alleged by

    Henderson are sufficient to support the conclusion that NPM meets this prong of the "debt

    collector" definition.

           The court further concludes that Henderson has adequately alleged the existence of a

    principal-agent relationship between NPM and the existing defendants. See, e.g., Marucci v.

    Cawley & Bergmann, LLP, 66 F. Supp. 3d 559, 564 (D.N.J. 2014) (noting that some courts

    "require a showing that the principal debt collector exercised control over the agent's activities in

    order to impose vicarious liability under the FDCPA"). Under general principles of agency, such

    relationship requires that the principal "either control (or .[have] the right to direct or control)"

    the agent. Meyer v. Holley, 537 U.S. 280, 285 (2003); see also McDonald v. Hampton Training

    Sch. for Nurses, 486 S.E.2d 299, 301 (Va. 1997) (explaining that under Virginia law, ''the power

    to control" is the determinative factor irt deciding whether a master-servant relationship exists).

    Here, Henderson expressly asserts that NPM "exercises a high degree of control" over the

    collection activities of GRC and Pioneer, and that such control is evidenced by the defendants'

    respective agreements with NPM. 2d Am. Compl.          ~~   17, 21. Under those agreements, NPM·



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has "sole discretion" over the type and number of defaulted loan accounts placed with GRC and

Pioneer, and the collection efforts undertaken by GRC and Pioneer must include a number of

specified activities. Id. Although <;JRC and Pioneer are labeled as "independent contractors" in

their respective agreements with NPM, such labeling is "not dispositive of the actual nature of

the relationship." Brown v. Mitchell, 327 F. Supp. 2d 615, 661 (E:D. Va. 2004) (citing Thaxton

v. Commonwealth, 175 S.E.2d 264, 268 (Va. 1970)). Otherwise, "principals could easily avoid

any liability merely by inserting magic words" into a contract. Allen v. Seacor Marine, Inc., 423

F. Supp. 2d 653, 658 (S.D. Tex. 2003).

       In sum, the court concludes that the second amended complaint sets forth sufficient facts

to plausibly support claims of vicarious liability against NPM.      Accordingly, the proposed

amendments would not be futile, and the court will grant leave to amend.

                                          Conclusion

       For the reasons stated, the court will grant Henderson's motion for leave to file a second

amended complaint. The Clerk is directed to send copies of this memorandum opinion and the

accompanying order to all counsel of record.

       DATED: This;), I~ day ofMarch, 2019.



                                               Senior United States District Judge




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